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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION
 UNITED STATES OF AMERICA                                           )
                                                                    )
         Plaintiff,                                                 )
                                                                    )
 v.                                                                 ) No. 4:17 CR52HEA(JMB)
                                                                    )
  MATTHEW BURKETT                                                   )
                                                                    )
         Defendant.                                                 )

                MOTION TO CHANGE CONDITIONS OF PRETRIAL RELEASE

       COMES NOW defendant Matthew Burkett, through his attorney, Kevin C. Curran, First Assistant

Federal Public Defender, and moves the Court to enter an order changing the conditions of his pretrial

release. Defendant moves that the Court lift the GPS device defendant is currently required to wear. After

discussions with both his pretrial release officer in Arizona where Mr. Burkett resides and the officer in

St. Louis who is overseeing the supervision do not oppose this condition. Mr. Burkett since his recent

release has complied with all terms and conditions of supervised release. While counsel has not directly

communicated with the government regarding this request, according to conversations with the pretrial

release officer, the government relies on the discretion of the pretrial release officer.


                                                               Respectfully submitted,

                                                               /s/ Kevin C. Curran
                                                               KEVIN C. CURRAN
                                                               First Assistant Federal Public Defender
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                                                               ATTORNEY FOR DEFENDANT
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                                   CERTIFICATE OF SERVICE

       I hereby certify that on January 8, 2018, the foregoing was filed electronically with the Clerk of
the Court to be served by operation of the Court's electronic filing system upon John Ware, Assistant
United States Attorney.


                                                           /s/ Kevin C. Curran
                                                           KEVIN C. CURRAN
                                                           First Assistant Federal Public Defender
